       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 1 of 18




                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

JULIE A. SMITH                                              )
                                                            )
                              Plaintiff,                    )
v.                                                          )   Case No.
                                                            )
KANSAS PUBLIC EMPLOYEES                                     )
RETIREMENT SYSTEM                                           )
Serve Executive Director At:                                )
Alan Conroy                                                 )
611 S. Kansas Ave. Ste. 100                                 )   REQUEST FOR JURY TRIAL
Topeka, KS 66603                                            )
                                                            )
                              Defendant.                    )

                                           COMPLAINT

       COMES NOW Plaintiff Julie A. Smith (“Plaintiff”) and for her Complaint against

Defendant Kansas Public Employees Retirement System (“Defendant KPERS”) alleges and

states as follows:

                                   Parties and Jurisdiction

       1.       Plaintiff is a citizen of the United States, residing in Stillwell, Johnson County,

Kansas, and, at all times pertinent to this Complaint for Damages, was an “employee” within the

meaning of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“ADA”), Age

Discrimination in Employment Act of 1967 as amended 29 U. S.C. § 621 et seq. (“ADEA), and

the Family Medical Leave Act, 29 U.S.C.A. § 2611 et seq. (“FMLA”) and the amendments

thereto.

       2.       Defendant KPERS is a legal entity existing within the laws of the State of Kansas

with its executive director, the individual to be served, located at 611 S. Kansas Ave., Ste 100,

Topeka, KS 66603, and at all times pertinent to this Complaint for Damages, was an “employer”

within the meaning of the ADA, ADEA, and FMLA.



                                               1
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 2 of 18




        3.       This is an employment discrimination and retaliation lawsuit based upon and

arising under the ADA, ADEA, and FMLA.

        4.       All of the unlawful acts and practices set forth below were committed within

Shawnee County, Kansas. Jurisdiction and venue are proper in the District of Kansas pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1391.

                      Administrative Procedure and Procedural Posture

        5.       On or about October 23, 2017, Plaintiff timely filed a Charge of Discrimination

against Defendant dually with the Equal Employment Opportunity Commission (“EEOC”) and

the Kansas Human Rights Commission (“KHRC”) on the basis of Plaintiff’s disability and/or

Defendants perception that Plaintiff is disabled, on the basis of Plaintiff’s age and on the basis of

retaliation (attached as Exhibit A and incorporated herein by reference).

        6.       On or about March 30, 2018, the EEOC issued to Plaintiff Notice of Right to Sue

(attached as Exhibit B and incorporated herein by reference).

        7.       The aforesaid Charge of Discrimination provided the KHRC sufficient

opportunity to investigate the full scope of the controversy between the parties and, accordingly,

the sweep of this judicial complaint may be and is as broad as the scope of an KHRC

investigation of Plaintiff’s claims and the involved parties, which could reasonably be expected

to have grown out of the Charge of Discrimination.

        8.       Through the filing of Plaintiff’s Charge of Discrimination, Defendant was

afforded notice of Plaintiff’s claims and the opportunity to participate in voluntary compliance.

        9.       Plaintiff has satisfied all private, administrative and judicial prerequisites to the

institution of this action.




                                                 2
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 3 of 18




                           General Allegations Common to All Counts

       10.     Plaintiff was an employee of Defendant from approximately May of 2008 until

approximately August 23, 2017, when Plaintiff was constructively discharged.

       11.     Plaintiff was employed by Defendant KPERS as a Fixed Income Investment

Officer in Topeka, Kansas.

       12.     In or around March of 2011, Elizabeth Miller (hereinafter “Miller”) became

Plaintiff’s supervisor when she was hired as Chief Investment Officer.

       13.     In or around September of 2013, Bruce Fink (hereinafter “Fink”) was hired by

Defendant KPERS as Deputy Chief Investment Officer for Public Markets, also becoming a

supervisor of Plaintiff.

       14.     In approximately April of 2013, Plaintiff applied for leave under the Family and

Medical Leave Act (“FMLA”) due to her medical condition, migraines.

       15.     Plaintiff’s migraines, at all times pertinent to this Complaint, did and continues to

affect her major life activities, including self-care, working, sleeping, driving, seeing, learning,

reading, communicating, and thinking.

       16.     In 2014, Fink and Miller began to subject Plaintiff to a pattern of harassing

conduct that created a hostile work environment for Plaintiff.

       17.     On one occasion in or about 2014, Fink and Miller berated Plaintiff and began

asking Plaintiff why she had been coming in late to work, despite the fact that Plaintiff had been

taking FMLA time and both Fink and Miller were aware of Plaintiff’s FMLA leave.

       18.     Plaintiff informed Fink and Miller that she was coming in late due to her

migraines.




                                                3
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 4 of 18




        19.    Plaintiff informed Fink and Miller that the medication she was taking for her

migraines could cause Plaintiff to have difficulty concentrating.

        20.    During this meeting, Plaintiff was in visible pain from her migraine and Miller

stated in a sarcastic way, “oh you have a headache” and walked out of the room.

        21.    Plaintiff began to suffer more frequent and intense migraines throughout

approximately 2015 and 2016.

        22.    Plaintiff noticed that as this occurred, Fink began to pick at Plaintiff’s work more

often than he had before.

        23.    In or around August of 2015, Fink informed Plaintiff that he would be taking

away her work from home day, which greatly increased Plaintiff’s driving time.

        24.    Upon information and belief, Fink took away Plaintiff’s work from home day

because of Plaintiff’s migraines and because of Plaintiff having to use FMLA leave.

        25.    On or about January 19, 2016, Fink wrote a letter to Plaintiff that addressed

individual typos in Plaintiff’s draft memos, including in a memo from September 2015,

November 2015, and January 2016.

        26.    The letter berated her for an incorrect date in the September memo draft, and a

few typos such as writing “mortgaged backed securities” instead of “mortgage backed

securities.”

        27.    Upon information and belief, Fink picked on minor things in Plaintiff’s work

because he was upset with Plaintiff because of her medical condition and because of Plaintiff

using her FMLA leave.




                                               4
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 5 of 18




       28.     Plaintiff informed Human Resources manager, Julie Baker (hereinafter “Baker”),

that she believed that she was being extra-harshly criticized on every minute detail of Plaintiff’s

work due to Plaintiff’s migraines.

       29.     Baker agreed that Plaintiff was being picked on and that she could see that Fink

was being overly picky.

       30.     Baker informed Plaintiff that she could write a formal complaint but when

Plaintiff responded that she was worried that it would only make the situation worse, Baker

agreed with Plaintiff that it would make the situation worse.

       31.     From the time the discrimination and hostile work environment began, Plaintiff

complained to Human Resources approximately three to five times a year.

       32.     Human Resources never did anything to correct the situation.

       33.     On or around April of 2016, Plaintiff renewed her FMLA and she was notified at

that time by Baker that Plaintiff would now need to renew her FMLA every six months instead

of annually. Baker stated that this was the case because Miller did not believe Plaintiff was

suffering from migraines as often as Plaintiff had been reporting.

       34.     Baker further stated that Miller did not believe that Plaintiff could have a

migraine in the morning and be able to recover enough to come to work within two hours.

       35.     Prior to this conversation, Plaintiff had sometimes been waking up at four or five

o’clock in the morning with a severe migraine and calling in around six o’clock in the morning

to ask if she could come in a few hours later to give Plaintiff time to hopefully feel well enough

to be able to drive to work.




                                               5
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 6 of 18




       36.     Julie Baker told Plaintiff that she would need to get a doctor’s note to send to

Defendant KPERS stating that it was possible for Plaintiff to have a migraine that could subside

enough to work within four hours, while other migraines may take one to two days to subside.

       37.     Plaintiff’s doctor completed this note for Plaintiff.

       38.     Baker also told Plaintiff that she needed to call Miller as soon as she knew she

was having a migraine and would miss work, even if it was in the middle of the night.

       39.     This caused Plaintiff to sometimes get up at three o’clock in the morning, when

Plaintiff was in severe pain, to call Miller and leave a message.

       40.     Upon information and belief, these burdensome requirements were placed on

Plaintiff because Miller was not happy about Plaintiff’s medical condition and to make it more

burdensome for Plaintiff to take FMLA leave.

       41.     On or about August 25th and 26th of 2016, it was necessary for Plaintiff to be out

of the office for treatment for acute migraines and Plaintiff provided Defendant with a doctor’s

note for this treatment.

       42.     On or about August 27, 2016, Plaintiff alerted Fink that she had a debilitating

migraine and would not be able to come in at eight in the morning but that she wanted to try and

be there for a meeting that was scheduled a quarter after one that same afternoon.

       43.     Approximately one hour before the meeting, when it became clear to Plaintiff that

her migraine would make it impossible for her to attend the meeting, Plaintiff let Miller know

that she would be unable to attend.

       44.     On or about May 18, 2016, Plaintiff was counseled for missing the meeting and

threatened with disciplinary actions, even though Plaintiff let Bruce Fink know as soon as

possible and complied with FMLA policy.




                                                6
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 7 of 18




       45.      On or about May 27, 2016, Plaintiff received an email that stated she would no

longer be allowed to take two hours of FMLA at a time but would only be allowed to take a full

day or half day of leave. Plaintiff was informed that if she requested two hours of leave for her

medical condition, her supervisor could require her to take four hours.

       46.      On or about June 30, 2016, Fink gave Plaintiff an “Unsatisfactory” rating on her

annual review and Plaintiff was put on an improvement plan for six months.

       47.      Prior to this review, Fink had always given Plaintiff a “Meets Expectations”

including in 2012, 2013, 2014, and 2015.

       48.      Plaintiff’s migraines have never caused her to take more time off than she was

allowed for sick and vacation time.

       49.      On or about December 31, 2016, Plaintiff was informed that her performance was

getting better in some areas but still needed improvement.

       50.      On or about June 14, 2017, Fink told Plaintiff to meet him at four in the afternoon

for her performance review.

       51.      When Plaintiff entered the room for the meeting she saw Alan Conroy, the

Executive Director for Defendant, Julie Baker the Human Resources manager, Bruce Fink and

Elizabeth Miller.

       52.      Collectively these individuals informed Plaintiff that they had decided to let her

go and that she had three options for her termination as follows:

             a. Accept a termination by Alan Conroy, effective July 14, 2017 with her last day

                worked being the current date, June 14, 2017;

             b. Accept a forced resignation effective September 15, 2017, with her last day

                worked being the current date, June 14, 2017 or;




                                                7
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 8 of 18




             c. Accept a short-term (17.5 month) employment agreement, signed by Alan

                Conroy, taking a demotion to the position of Investment Strategist that would last

                from June 16, 2017 to October 1, 2018.

       53.      Plaintiff was put under immense pressure and only given forty-eight hours to

consider the three options and due to Plaintiff’s stress of having no income to support herself,

Plaintiff accepted the last option to continue her employment and be terminated October 1, 2018.

       54.      After Plaintiff was forced to make this decision, Defendant made her train her

replacement.

       55.      Even after Plaintiff accepted the demotion to Investment Strategist, the

discrimination, harassment and retaliation continued.

       56.      Plaintiff was shunned at work by her co-workers and managers and excluded from

department meetings.

       57.      Plaintiff initially believed she was not invited to the first of several quarterly

investment meetings by accident, so she attended to the meeting.

       58.      When Plaintiff arrived, Miller stated in front of three other employees, “You

realize this is an investment meeting and you do not need to be here.” This caused Plaintiff to

feel humiliated.

       59.      Plaintiff was not allowed to attend these meetings despite the fact that it was

necessary for Plaintiff to do so in order to perform her job, as she needed access to the

information provided at the meetings.

       60.      Plaintiff was also excluded from the compliance meetings every month.

Excluding Plaintiff from these meetings made it impossible for Plaintiff to do her job as she

could not complete the reports that incorporated information gathered from those meetings.




                                               8
         Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 9 of 18




         61.   Plaintiff complained of discrimination and retaliation for being excluded from

these meetings to Baker. Baker stated that she thought it would get better with Plaintiff’s new job

title.

         62.   Baker informed Plaintiff that she could make a formal complaint.

         63.   On or about August 14, 2017, Plaintiff made a formal complaint, which

mentioned that Baker had previously discouraged Plaintiff from complaining about

discrimination.

         64.   After Plaintiff made her formal complaint, the retaliation and shunning became

worse and got to the point that no one in the office would speak to Plaintiff.

         65.   Upon information and belief, Plaintiff’s complaints were not taken seriously or

addressed.

         66.   By approximately August 23, 2017, the hostile work environment, harassment

and retaliation had become intolerable for Plaintiff.

         67.   Plaintiff was suffering from anxiety, depression, difficulty sleeping, constant

nausea and lack of appetite.

         68.   Plaintiff could no longer bear the working conditions forced upon her and felt she

had no choice but to resign.

         69.   On or about August 23, 2017, Plaintiff was constructively discharged prior to the

actual October 2018 discharge date of Defendant.

         70.      On or about August 23, 2017, Plaintiff was clearing her belongings out of her

office and asked one of her coworkers for assistance carrying a painting.

         71.   Plaintiff’s coworker hesitated and did not agree to help Plaintiff. Plaintiff asked

him “do you not want to be seen with me?” but the coworker did not respond.




                                                9
      Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 10 of 18




       72.     It was extremely upsetting to Plaintiff that the work environment had become so

bad that Plaintiff was shunned by a coworker who had previously been friendly with Plaintiff

because he was afraid to be seen helping Plaintiff.

               COUNT I - DISPARATE TREATMENT IN VIOLATION OF THE ADA

       73.     Plaintiff hereby re-alleges and incorporates by reference the allegations contained

in the above-stated paragraphs.

       74.     Plaintiff is disabled, as defined by the ADA, at all relevant times herein and/or

Defendant regarded Plaintiff as being disabled.

       75.     Specifically, Plaintiff suffers medical conditions which substantially limit her

major life activities, including self-care, working, sleeping, driving, seeing, learning, reading,

communicating, and thinking. At all relevant times, including prior to Plaintiff’s termination,

Defendant was aware that Plaintiff had a record of having such impairment.

       76.     Plaintiff is a qualified individual as defined by the ADA, due to her disability

and/or Defendants perception that Plaintiff is disabled.

       77.     Plaintiff could perform the essential functions of her job duties with Defendant

with or without reasonable accommodation.

       78.     Defendant unlawfully and intentionally discriminated against Plaintiff based on

her disability and/or because they regarded her as disabled, and acted in bad faith by interfering

with, recklessly disregarding, and denying her legal rights when they terminated Plaintiff’s

employment.

       79.     Specifically, Defendants conduct in violation of the ADA included:

       a.      requiring overly burdensome and excessive requirements of Plaintiff to prove she

suffers from migraines and to what extent;




                                                10
      Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 11 of 18




          b.     forcing Plaintiff to take a demotion or be fired; and

          c.     constructively discharging Plaintiff.

          80.    Plaintiff’s disability and/or Defendants perception that Plaintiff is disabled, was a

motivating factor in Defendants decision to terminate Plaintiff’s employment.

          81.    As a direct and proximate result of Defendants actions and/or omissions, Plaintiff

has been deprived of income, as well as other monetary and non-monetary benefits.

          82.    As a further direct and proximate result of Defendants actions and/or omissions,

Plaintiff has suffered a loss of self-esteem, humiliation, emotional distress and mental anguish

and pain, and related compensatory damages.

          83.    By failing to take prompt and effective remedial action, Defendant in effect

condoned, ratified and/or authorized the discrimination against Plaintiff.

          84.    As shown by the foregoing, Defendants conduct was willful, wanton, and

malicious, and showed complete indifference to or conscious disregard for the rights of others,

including the rights of the Plaintiff, thus, justifying an award of punitive damages in an amount

sufficient to punish Defendant or to deter them and other companies from the conduct in the

future.

          WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

the Defendant for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.




                                                  11
      Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 12 of 18




                 COUNT II – DISPARATE TREATMENT BASED ON AGE
                              IN VIOLATION OF ADEA

       85.      Plaintiff hereby re-alleges and incorporates by reference the allegations contained

in the above-stated paragraphs.

       86.      During Plaintiff’s employment with Defendant, Plaintiff was subjected to

different terms and conditions of employment and an ongoing practice and/or pattern of

discrimination/disparate treatment based on her age by Defendant.

       87.      Plaintiff is at least forty (40) years of age.

       88.      Plaintiff was subjected to different work requirements than other similarly

situated younger employees in regard to the terms and conditions of her employment.

       89.      Plaintiff’s age was a motivating factor in Defendant’s decision to discharge

Plaintiff’s employment.

       90.      All actions or inactions of or by Defendant occurred by or through their owners,

agents, servants, or employees acting within the course and scope of their employment, as set

forth herein.

       91.      Defendant’s actions constitute unlawful employment discrimination against

Plaintiff in violation of ADEA, as alleged herein.

       92.      As a direct and proximate result of the unlawful conduct of Defendant as set forth

herein, Plaintiff has suffered damages which include emotional distress, pain and suffering, past

and future wages and benefits, career damage and diminished career potential, mental distress in

the form of embarrassment, degradation and humiliation which caused her to move to a different

state, increased anxiety, increased difficulty sleeping, loss of enjoyment of life, significant

weight loss and other non-pecuniary losses.




                                                   12
      Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 13 of 18




       93.     The conduct of Defendant was outrageous and evidence an evil motive or reckless

indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an award of

punitive damages.

       WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

the Defendant for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.

               COUNT III - RETALIATION IN VIOLATION OF THE ADA

       94.     Plaintiff hereby re-alleges and incorporates by reference the allegations contained

in the above-stated paragraphs.

       95.     Plaintiff is disabled and/or Defendant regarded her as disabled, as defined by the

ADA, at all relevant times herein.

       96.     Plaintiff is a member of a protected class because of her disability and/or because

she was regarded as being disabled, and because she requested an accommodation.

       97.     Plaintiff complained of and opposed discriminatory treatment when she made

informal and formal complaints of discrimination and retaliation to Human Resources.

       98.     Plaintiff requested reasonable accommodation from Defendant due to her medical

condition.

       99.     In retaliation for Plaintiff’s complaints and/or request for accommodation,

Plaintiff was forced to take a demotion or be terminated.

       100.     In retaliation to Plaintiff’s claims of discrimination and/or request for

accommodation, Defendant discharged/constructively discharged Plaintiff.




                                                13
      Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 14 of 18




          101.   As a direct and proximate result of the Defendant’s actions and/or omissions,

Plaintiff has been deprived of income, including wages and benefit as well as other monetary and

non-monetary benefits.

          102.   As a further direct and proximate result of Defendant’s actions and/or omissions,

Plaintiff has suffered a loss of self-esteem, humiliation, emotional distress and mental anguish

and pain, and related compensatory damages.

          103.   By failing to take prompt and effective remedial action, Defendant, in effect

condoned, ratified and/or authorized the discrimination against Plaintiff.

          104.   As shown by the foregoing, Defendant’s conduct was willful, wanton, and

malicious, and showed complete indifference to or conscious disregard for the rights of others,

including the rights of the Plaintiff, thus, justifying an award of punitive damages in an amount

sufficient to punish Defendant or to deter them and other companies from the conduct in the

future.

          WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

the Defendant for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.

                   COUNT IV - RETALIATION IN VIOLATION OF ADEA

          105.   Plaintiff hereby re-alleges and incorporates by reference the allegations contained

in the above-stated paragraphs.

          106.    Plaintiff is at least forty (40) years of age.

          107.   Plaintiff is a member of a protected class because of her age.




                                                   14
       Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 15 of 18




        108.    Plaintiff complained of and opposed discriminatory treatment when she requested

Human Resources address the discriminatory treatment Plaintiff faced by Bruce Fink, Elizabeth

Miller and other employees of Defendant.

        109.    In retaliation for Plaintiff’s complaints and/or request for accommodation,

Plaintiff was improperly counseled for an approved absence and terminated/constructively

discharged as a result of her age.

        110.    All actions or inactions of or by Defendant’s occurred by or through their

owners, agents, servants, or employees acting within the course and scope of their employment,

as set forth herein.

        111.    Defendant’s actions constitute unlawful employment discrimination against

Plaintiff in violation of ADEA, as alleged herein.

        112.    As a direct and proximate result of the unlawful conduct of Defendant as set forth

herein, Plaintiff has suffered damages which include emotional distress, pain and suffering, past

and future wages and benefits, career damage and diminished career potential, mental distress in

the form of embarrassment, degradation and humiliation which caused her to move to a different

state, increased anxiety, increased difficulty sleeping, loss of enjoyment of life, significant

weight loss and other non-pecuniary losses.

        113.    The conduct of Defendant was outrageous and evidence an evil motive or reckless

indifference for the rights of Plaintiff and the rights of others, entitling Plaintiff to an award of

punitive damages.

        WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

the Defendant for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’




                                                15
      Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 16 of 18




fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.

                  COUNT V - RETALIATION IN VIOLATION OF FMLA

       114.    Plaintiff hereby re-alleges and incorporates by reference the allegations contained

in the above-stated paragraphs.

       115.    Plaintiff was an employee of Defendant for the twelve months prior to her

requesting medical leave under FMLA.

       116.    Plaintiff worked at least 1,250 hours for Defendant in the year prior to her

requesting medical leave under FMLA.

       117.    Plaintiff suffered and continue to suffer from a medical condition affecting self-

care, working, sleeping, driving, seeing, learning, reading, communicating, and thinking.

       118.    This medical condition is a physical condition which involved numerous

treatments by a health care provider.

       119.    At all times, relevant, Plaintiff was continuously seen by a health care provider

for her medical condition.

       120.    Plaintiff’s medical condition is a “serious health conditions” as defined by the

FMLA.

       121.    Plaintiff is entitled to take leave for up to twelve (12) weeks because of a serious

health condition that makes the employee unable to perform the functions of the position of such

employee.

       122.    Defendant began treating Plaintiff differently and negatively when she began to

take increased FMLA leave for her medical condition.




                                                16
      Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 17 of 18




          123.   Plaintiff’s taking leave was a motivating factor in Defendant’s decision to

terminate/constructively discharge Plaintiff.

          124.   As a direct and proximate result of the Defendant’s actions and/or omissions,

Plaintiff has been deprived of income, including wages and benefit as well as other monetary and

non-monetary benefits.

          125.   As a further direct and proximate result of Defendant’s actions and/or omissions,

Plaintiff has suffered a loss of self-esteem, humiliation, emotional distress and mental anguish

and pain, and related compensatory damages.

          126.   By failing to take prompt and effective remedial action, Defendant, in effect

condoned, ratified and/or authorized the discrimination against Plaintiff.

          127.   As shown by the foregoing, Defendant’s conduct was willful, wanton, and

malicious, and showed complete indifference to or conscious disregard for the rights of others,

including the rights of the Plaintiff, thus, justifying an award of punitive damages in an amount

sufficient to punish Defendant or to deter them and other companies from the conduct in the

future.

          WHEREFORE, Plaintiff requests that the Court enter judgment in her favor and against

the Defendant for economic damages, including, but not limited to: back pay, lost benefits, and

front pay, injunctive relief, compensatory damages, punitive damages, for reasonable attorneys’

fees and costs incurred herein, for pre- and post-judgment interest as allowed by law, and for

such other and further legal and equitable relief as this Court deems just and proper.

                   Demand for Jury Trial and Designation of Place of Trial

     Plaintiff requests a trial by jury, in Kansas City, Kansas, on all counts and allegations of

    wrongful conduct alleged in this Complaint.




                                                 17
Case 2:18-cv-02340-CM-KGS Document 1 Filed 06/25/18 Page 18 of 18




                             Respectfully Submitted,

                             EDELMAN, LIESEN & MYERS, L.L.P.

                             /s/ Sarah C. Liesen __________
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                             ATTORNEY FOR PLAINTIFF




                               18
